Case 1:19-cv-01339-DCJ-JPM Document 37-3 Filed 10/01/20 Page 1 of 9 PagelD #: 1700

MOHAMED RIAD HAJMURAD, M.D. on 09/16/2020

 

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

JERRY MCKINNEY, SR.

Plaintiff

VERSUS

RAPIDES PARISH SHERIFF'S OFFICE AND SHERIFF
WILLIAM EARL HILTON

Defendants

Case No. 1:19-cv-01339-DDD-JPM

Judge Dee Drell

Deposition of DR. MOHAMED RIAD
HAJMURAD, on Wednesday, September 16, 2020 via

Zoom videoconference.

REPORTED BY:

EXHIBIT

Lori L. Marino
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MOHAMED RIAD HAJMURAD, M.D. on 09/16/2020

10..13

 

1 consult sheet in his chart.

2 Q_ Okay.

3 A. !seehim almost five times. So he
4 probably stayed five days in the hospital.
5 Q _ What was his diagnosis, Doctor?

6 A Stroke.

7 Q_ What type of stroke?

8 A_ itis embolic stroke, you know. It's

9 just stroke, you know, affecting the brain and
10 causing him to have this problem.

11. Q_ It was an embolic stoke?

12 A €Embolic.

13. Q _ Embolic stroke.

14 A It went to the brain and causing him
15 to have this issue.

16 Q_ It wasn'ta cerebellar stroke. Was
17 it?

18 A No, cerebellar is the posterior

19 circulation. It is in the front, the anterior

20 circulation.

21 Q_ Right. I just want to make sure I'm
22 clear. This was not a cerebellar stroke?
23 A No, not cerebellar stroke. Blood
24 clot. Double L.

25 Q Double L?

Yes.

And it wasn’t a brain stem stroke?
Not brain stem stroke, no.

It was an embolic stroke?

Yes.

Affecting the frontal lobe. Correct?
Yes, sir.

Well, let me ask you this: When you
9 have a stroke, an embolic stroke that has an
10 issue with the frontal lobe, what types of

ONONAWNH =
OPrPOroOro>r

12 of a stroke?

13. A Like if we talk about the dominant

14 hemisphere, it depending on what is the

15 location. Sometimes, we'll be a symptomatic.
16 That reason, you know, if patient been having
17 some subtle, small, tiny stroke, he might not
18 be pay attention to it, but if it is like a

19 little bit large, it can cause -- depending on
20 the location. If it is affecting the motor

21 strip, the area for the motor, he might get a
22 paralysis. If it affecting the speech area,

23 he can get problem with the speech. If it's

24 affecting the occipital lobe, it can be

25 affecting his vision.

 

Page 10

Page 11

11 symptoms are generally exerted with that type 11 Q

Page 12
1 So here he had typically what looked

_ 2 like affecting his speech, and he has mild
- 3 motor function, which is improved over the

4 time; but the speech still having some issue

5 with stuttering a little bit.
‘6 Q Amlcorrect, Doctor, that once
' 7 someone has a stroke, from that point moving
: 8 forward, they generally improve.
'9 A Yes--
:10 Q_ It's nota situation -- I'm sorry.

11 is that correct?

12 A Yes. They improving depending on
‘13 where it's located, the stroke is large and
_ 14 also depending on the location. He does not
:15 have large stroke. Okay, like make him
: 16 impaired. He does not have significant motor
| 17 deficit. He does have affecting the speech,

18 and his comprehension is good. It's affecting
119 alittle bit. If | were to mention, | can
'20 probably tell you that he had even -- because
121 as|told you, sometimes, you can have silent
/22 stroke, tiny stroke in the brain. He had it
23 previously, because the records show that he
| 24 had mild scattered chronic ischemic deep white
| 25 matter disease. That means he's been having,

Page 13
| 1 in other words, a lacunar infarct in the past.
| 2 Maybe, he did not pay attention to it.
| 3  Q _ Sohe had a stroke prior to this
| 4 stroke?
-5 A Tiny strokes. Lacunar infarct, we
6 call it. Mini stroke.
7 Q. But this stroke that we're talking
8 about in 2017 was a smaller stroke?
9 A_ Itis asmall stroke. Itis
10 affecting the speech to some extent.
! understand. Let me ask you this
'12 Doctor: | don't see anything in that original
13 intake when he's talking to you about any kind
14 of sensitivity to noise. Right?
.15 A What difference -- what has to do
16 with sensitivity to noise?
| 17 Q_ I guess that's my question. Right?
| 18 A Hetold me that. | understand your
( 19 point. When he comes to followup to me, he
'20 said that the noises are irritating him and
i 21 make him nervous and make his blocd pressure
i 22 elevated. Stroke does not do that. Okay.
123 It's probably - it is because he has blood
24 pressure and his age, whatever, it can
! 25 aggravate his, you know, irritability to

 

 

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22..25

 

Page 22
1 day-to-day bases? |
2 A Yes. | try to function on daily
3 basis, yes.
4 @Q Let's go through the next one.
5 What's the next time you see him, Doctor? |
6 A Okay, the next time | saw him. | saw
7 him on the 5/23/18.
8 @Q Okay. Tell me what happened on that
9 visit.
10 A Hecame. He said that he's been
11 doing fine, has not had any problem. His
12 motor function is back to normal. He's been
13 having some headaches. | felt like maybe, it
14 was muscle tension headache, and that he
15 doesn't want to be on medication. He doesn't |
16 want to be on the medicine for the headache,
17 and he's still having the issue of blood
18 pressure, and that basically -- he did not ]
19 have any problem. As | mentioned that day,
20 there's no shortness of breath, no difficulty
21 swallowing, no weakness, no tingling
22 sensation, nothing else. '
23 Q_ So, at that visit, which is May 23,
24 '18, you indicated he's almost back to normal .
25 baseline. Right? :

 

Page 23
A Back to baseline, yes.
Q And this is about six months after
his stroke. Right?
A Yes.
Q_ That would comport to what we talked
about earlier, that 90 percent of patients
7 with small strokes get back to baseline in
8 about six months.
9 A Thatis generally speaking because of

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6

 

2 me.

Page 24
Q_ Let's go to the next time you saw
him, Doctor.
A Okay, next time | saw him is on
7/31/18.
Q_ Okay, and what went on 7/31/187
A He said he came to me, and he said
7 that he’s been sensitive to noises and
8 especially when he hear loud noises, and he
9 get very irritable and causing him to have

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10 headache.
11. @Q = Okay, and did he tell you that he
12 thought -- I'm looking here. Do you recail

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him indicating at all that he might be
transferred to a different position at work?
| was looking at your fourth paragraph.

A He said because of his, you know,
stroke issue and weakness, whatever, he cannot
concentrate and do shooting. So | told him to
go and find a job, you know, that does not
require these things, because what |
understoad from him, he, you know, watched the
inmate, and sometimes, he has to carry the
gun; and if he need to use it, whatever, |
don't know how the situation they do it. So
he said that he has difficulty shooting as a

Page 25
1 police officer. That's what he mentioned to

3 Q = Atthat point, Doctor, do you recall

4 signing a prescription or an order that he was
5 not to shoot weapons? | think | saw it in

6 your records here.

7 A’ Maybe, itis. Yeah, | remember. If

8 itis in your record, that mean, yes, | cannot

9 deny it.

 

 

10 the size of the stroke that he had. | put in 10 Q We're going to pull it up for you
11 my impression, he still have some residual _11 Doctor. Hang on a second. It's in the back
12 excessive aphasia but is improving. 12 of your records.
13. Q _ Doctor, in this visit, he doesn't 13. A_ It should be in the prescriptions.
14 mention anything about being sensitive to loud 14 Q You should have it scanned in.
15 noises. Correct? 15 Well, Doctor, while he's looking for
16 A Hedid not mention it, no. ‘16 that, it says in your records there are a lot
17. Q = And, in fact, Doctor, up until this 17 of loud noises, a lot of noises. He probably
18 point since his stroke in November of 2017 all 18 cannot work in these conditions. Right? Do
19 the way until May 23rd of '18, there’s nothing 19 you see that?
20 in your records that he indicated he was i20 A Yes.
21 having any kind of problems with loud noises. |21 @Q And noises, you would indicate, maybe
22 True? |22 noises associated with his work. Is that what
23. A No. No. |23 you understood?
24 @Q = True, meaning you agree with me? ‘24 <A That's what | understood.
25 A Yes. Yes. Yes. | agree with you. |25 @Q You also understood him indicating
|
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26..29
Page 26 | Page 28
1 that if he can't be around noises, you | 1 noises, right, and you're writing
2 wouldn't expect him to be shooting weapons. 2 prescriptions he's not to shoot; and then,
3 Right? ; 3 he's out there shooting a thousand rounds,
4 <A While doing work? | 4 that leads me to believe that perhaps, he's
5 Q Yeah. | 5 not being honest about his ability to be
6 A_ {don't know how they do it, but | | 6 around loud noises. What does it tell you?
7 thought that maybe, when he go for training, 7 A Tosome extent, yeah, | agree with
8 he has to shoot this thing, and it might cause ' 8 you, you know, yes.
9 the noises. He told me that doing what he is '9 Q Because what he's telling you is
10 working, there's a lot of noises, and it's .10 subjective. Right? He's telling you
11 irritating him. 11 subjectively he can't be around loud noises.
12  Q Socertainly, Doctor, if he's 12 True?
13 irritated by noises, you wouldn't expect 13. A Yes. Yes.
14 somebody irritated by noises to be shooting 14 Q_ But if the facts show he's shooting a
15 weapons. Right? 15 thousand rounds, more probably than not, he
16 A _ Heshould not, yes. | 16 can be around loud noises. Correct? You
17 Q_ Did Mr. McKinney tell you that 17 agree with me, Doctor?
18 despite what he told you here in July of '18 618 A Yes, | agree. I'm taking this
19 that he had actually been shooting weapons? | 19 picture out.
20 Did he disclose that to you? 20) Q_ We're going to take it off.
21 A _ Idid not go into detail about this. :21 A Thank you.
22. @Q I'm going to share a document with ‘22 Q Let's go further, Doctor -- and then,
23 you? Take a look at your screen, Doctor. :23 when you said at the bottom -- look at that.
24 A_ Igotit. Yes. Not allowed to shoot ‘24 A lot of noises --
25 any gun, yes. -25 A He told me that he doesn't want to
- - Page 27° Page 29
1  @Q So you wrote that saying he's not 1 shoot a gun, and he shcot like almost one
2 allowed to shoot a gun. Right? ; 2 thousand rounds. So what is the -- why he did
3. A Yes. 3 it?
4 @Q _ And you would expect if you provided i 4 Q That's my question, Doctor. That's
§ that to Mr. McKinney, that he would follow ' § my question, Doctor, because from the
6 your orders. Right? | 6 Sheriff's Office position, he was going to the
7 A Yes. | 7 range -- he admitted on Monday. He was going
8 Q_ Did you know, Doctor, that after you _ 8 to the range, shooting weapons, a thousand
9 wrote that document, he shot a gun? - 9 rounds. Never informed the officers that he

 

 

10  A_ I!don't know what he did. You know, '10 had a prescription not to shoot and admitted

11 I don't know. Cannot keep up with every 11 that it was a danger to himself and a danger

12 patient, what they doing. 12 to the other officers. Would you agree with

13. Q Doctor, would it surprise you that 13 that?

14 Mr. McKinney admitted in deposition on Monday :14 =A When he told me about this, | was

15 that he shot 1,000 rounds of ammunition after 15 worried about him. So | told him he should

16 you wrote this prescription? , 16 not shoot the gun. Especially he has blood

17. A Okay. I don't know. No, I'm not 17 pressure and previous stroke, and he told me

18 aware of it. 18 that he's sensitive to noise. So | give him

19 Q _ No, but does that surprise you that 19 this prescription.

20 somebody who said -- 20 Q_ Right, and the prescription you gave

21 A That surprise me, because he should -21 him, Doctor, it says, for that reason, | will

22 not, because | wrote prescription he is not 22 give him an excuse to continue what he's doing
23 allowed to shoot a gun. 23 now. That's what you wrote in your --

24 @Q And, Doctor, what kind of struck me 24 <A Yeah, to continue his work but not to

25 is if somebody is telling you I'm sensitive to 25 shoot a gun, yes.

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MOHAMED RIAD HAJMURAD, M.D. on 09/16/2020

30..33

 

1 Q. Right, but you -- okay, but my point |
2 is had you known that he was out there |
3 shooting weapons, you wouldn't have given him
4 this excuse?
5 A No, I did not know about it.

6 Q Right? You wouldn't have done that?
7 A No. I did not know about it.

8 Q = You wouldn't have placed other

9 officers in danger by placing a prescription

10 for something that you didn't have all the

11 facts about.

12 A Yes.

13. Q = Solet's go forward. [think you

14 actually wrote a letter on that same day,

15 Doctor, July 31, 2018. Do you see that

16 letter?

17 A _ Ifit's somewhere in my record

18 probably I have it. Okay. July 31st, | have,

19 To whom it my concern: The patient has

20 history of bilateral hemispheric CVA. On

21 aspirin. He has not been able to function on

22 full active condition. He needs some

23 sedentary type work. He has been having

24 problems feeling comfortable, and he is !

25 worried about that endangering himself because
|

'

 

: Page 31°
of the inmate whatever. So | told him, okay,

they can switch you to something else

different, because he has high blood pressure.
Sometimes, high blood pressure can trigger a
stroke.

Q_ Then, you say he has hypersensitivity
to loud noises. So he's not been able to
shoot. That's what he told you. Right?

9 <A _ Yes. That's what he told me based on

10 what he's telling me.

11 Q_ |understand, but now, that you know
12 he was shooting weapons, you would retract
13 that statement?

14 A Probably, yeah, | will.

15 Q When's the next time you saw him or
16 the next report or testing that was done?

17 <A He told me that he's been having --

18 when he came also, because he told me he's

ANA Wh —

 

' 1 much it is bad, because | can look at the

- 3 atall. itis very mild.

12 Evoked Response?

13. A That's for the hearing.

14 Q = We talked about it. | just want to
‘15 make sure for the record that | have it in

Page 32

syndrome, and he had some arthritis in his
neck, you know, some arthritis. That's it --

Q_ Nothing significant? I'm sorry. |
cut you off, Doctor. I cut you off. Sorry.

A He has carpal tunnel and some
arthritis in the neck we call cervical
spondylosis, but it's not significant for me
8 to indicate further approach, like, you know,
9 to do surgery or to do more things.
10 Q Doctor, you never gave hima
11 disability rating. Correct?
12 A No,!did not. He wanted to go back
13 to work. | told him if you change your job, a
14 little bit position and do some other things,
15 you can, you know, it's good for you, rather
16 than be disabled.
17 Q_ Right. | understand, and that's
18 based upon what he was telling you, as well,
19 what his symptoms were?
20 A Right. Right.
21 Q_ Because this conduction study just
22 came back with some carpal tunnel. That's it.
23 A Yes.
24 Q = Whichis minor. Right?
25 A Justasecond. | can tell you how

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"Page 33
2 number. (Witness peruses document.) Not bad

Q_ Very mild?
A Very mild.
Q What happens next, Doctor? What's
the next visit?
A Saw him on follow-up visit November
9 '18, November 27, '18.
10 Q_ Let me back up alittle bit, Doctor.
11 I have in my records a Brain Stem Auditory

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here. That happened on August 24, ‘187
A He told me having problem with this
hearing issue. So | said, let's check the

 

 

19 been having numbness in his arm. 19 eighth nerve, which the eighth nerve is

20 Q = Okay. 20 usually combined nerve for the hearing and for
21. A Concern and worried about he's been 21 the balance, and it came back normal to me.

22 having stroke or anything. So I did nerve 22 @Q_ That came back normal at 80 decibels.
23 conduction study on him. 23 Right?

24 Q = Okay. 24 A Yes, sir.

25 A Found out that he had carpal tunnel 25 Q = You would agree with, me Doctor, that
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MOHAMED RIAD HAJMURAD, M.D. on 09/16/2020

 

7 sometimes people they cannot send signals, and
8 we tell them what they will hear. Some

9 people, they hear it at 50 decibel. Some of

10 them, they hear at 80 decibel, which is

11 normal. Sometimes, if they have hearing

12 problem, they wili hear it fike 105 decibel,

13 but we check not only decibel. We check on
14 the latency of the wave form, and we check on

 

‘40 was he doing?

34..37
Page 34 | Page 36
1 simple things, like running water is less than | 1 Q_ Did he tell you what kind of job he
2 80 decibels? The sound of just running water. 2 was doing at that point in time?
3 in your kitchen is less than 80 decibels. 3 > A_ Idon'tknow. He said he watching
4 Right? . 4 guard, inmate or something. | don't know what
5 <A Yes. What we do, what the decibel we 5 he's doing.
6 do depending on their hearing threshold, 6 Q And so, Doctor, so did you then write

7 a letter for him on that date? Well, let me
8 ask you this, Doctor: What were his symptoms,
9 his neurologic symptoms on that visit? How

11. A  Wechecked him, and examination is
12 the same. Everything is looked good, you
13 know. Basically, | don't see anything deficit
14 at that time when we checked him.

 

 

15 the amplitude of the wave form, and it was 15 Q = Kind of back to baseline, like we
16 normal. 16 talked about in May?
17  Q_ Iunderstand, okay. So there is no 17 A Yes. Yes.
18 objective findings that Mr. McKinney has any 18 @Q_ Tell me, Doctor, then, you wrote him
19 sensitivity to loud noises? 19 a letter on that same day. Do you recall
20 A _ No, itis not. We checked the cable 20 doing that?
21 of the nerve. 21 A Do you have it?
22 Q_Isee, and the cable of the nerve 22 > Q_= Yeah, you want me to pull it up for
23 showed it was normal? 23 you, Doctor?
24 A_ So farso good. 24 A I'll read it. So I can tell you what
25 @Q Let's move forward, Doctor. So let /25 we have. It should be here. This is dated
pe 7 _ Page 35 | Page 37
1 me just make sure. That test that youdidis | 1 November 27, 2018.
2 contrary to his statement that he was -2 Q Correct.
3 sensitive to loud noises, because the results 3 A Okay, | have it here.
4 of the test came back normal? '4 Q_ Did you give that letter to anyone,
5 A Yes. Yes. | 5 Doctor?
6 @Q Let's go to the next time you saw /6 A Yeah. | have it here in front of me.
7 him. 7 To whom it may concern. Patient has bilateral
8 A November 27, '18. , 8 CVA. Repeat MRI showed him to have minimal
9 Q Tellme what happens November 27, ' 9 petechial hemorrhage in the frontal area.
10 ‘18. 10 Neurologically stable. He is to continue his
11. A Patient came in and said he still |11 medication. Because of his neurological
12 having problem with stuttering and problem 12 status, he probably need to work in an
13 handling the loud noises and making him very ‘13 administrative setting with no loud noises.
14 irritable and cause him to have headaches, and = 14_He is to do eight hours. No stress to prevent
15 sometimes, he dizzy from it; and when we did ! 15 from his blood pressure to go up. Especially
16 the Brain Stem Auditory Evoked Response, and | 16 with his previous stroke, and regarding his
17 it came back normal. Said that, you know, 117 weakness, we feel like he have some
18 sometimes, he get very nervous, agitated 18 improvement, because | felt like the nerve
19 around loud noises if there is a lot of crowd 119 conduction study showed mild carpal tunnel.
20 people. | 20 It's not significant, and that's it.
21. @Q He told you also, Doctor, that he i21. @Q Why did you write this letter,
22 wanted to be in an administrative position and 22 Doctor?
23 away from loud noises. Right? 23 A He asked me probably to want me to
24 A That's what he told me. He would 24 write it.
25 like to change job, position. 25 @Q Do you know what he did with it?
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MOHAMED RIAD HAJMURAD, M.D. on 09/16/2020

38..41

 

Page 38 .

A Neo.

Q Did he ever ask you to contact the
Sheriff's Office and have any discussion with
them about this letter?

A | don'tinterfere with these things.

6 They told me, and | write it, and | send it to

7 them, and wherever he want to give it, | don't

8 know where it went.

9 @Q. Did you know, Doctor, --

10 A _ l|did not address it to anybody. |

11 said to whom it may concern.

12 Q_ lunderstand, but was it your

13 understanding he was going to give this to the
14 sheriff's department?

15 A Ireally don't know. | don't

16 remember, because it's a long-time ago.
17. Q_ Ilunderstand, Doctor, at the time you
18 wrote the letter, he didn’t tell you he had
19 been shooting weapons. Right?

20 A _ No, he did not.

21. Q = You didn’t know that. Now, that we
22 know -- and I'll be more specific. From our i
23 deposition on Monday, these thousand rounds |
24 that he shot, he shot in March. He shot again _
25 in July, and then, he shot in October, and he

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Page 39
1 also shot in November right before you wrote
2 this letter. Had you known that he was
3 shooting all those rounds of ammunition at the |
4 range, would you have written this to the
5 sheriff's office that he probably needs to
6 work in administrative work with no loud
7 noises?
8 A_ |would advise him he should not have
9 double standards, do this and do this.

 

8 Q  Gotit, because he needs to be honest
9 with you. Right?
10 <A Exactly.
11. Q If he’s honest with you, we don't
:12 write this letter. Right?
13. A No. I told him tell them that you
14 cannot do it, and this is the letter from me

15
47

19
20

Page 40
1 frankly, I'm going to tell him, okay, if you
2 are shooting, you know, why | have to give you
3 this letter?
4 @Q That's my point.
5 A_ Idon't want to put myself in a bad
6 position, you know. It would be a double
7 standard frankly.

that he should not co it.

Q Understood, but I'm saying had you
known he was shooting all that, and he was
being honest with you, then, you —

A No. No. If he does it, if he does
it, | will not give him the letter.

Q_ That's my point. Had known he was
shooting weapons, you would not have given him
this letter?

A No, ! would not.

Q You agree with me?

16

18

Page 41

A Yes.

Q The next thing, Doctor, there was
a -- I'm just curious what this is. It looks
likes there was a phone call that came in. |
don’t know if you have it in front of you,
maybe, from his wife, asking that you get that
letter to him -- they needed it by November 30
of 18. Do you recall that happening?

A Usually, | have it in color. Let me

SOON aah WN =

 

 

10 Although, he will tell them that I cannot do 10 see. | don't have it. Hold on. Let me see,

11 it, or, you know -- anyway, | will give him 11 because usually any message would be in green.
12 the letter, and it's up to him. He should not 12 Here, she send me -- there is a paper. Let me

13 do it behind me, and he should tell me that 13 see. She want the letter regarding this --

14 I'm doing these things. | understand | give 14 hold a second. She gave me a paper requesting
15 him this letter to help him to not to do these 15 that he need to work eight hours

16 things. 16 administrative sitting. No noises tolerated.

17. Q_ |understand, but, Doctor, had you 17 That's physically, and they need a letter

18 known that he was shooting weapons -- 18 regarding this. That's what she told me.

19 A No,no, | did not. 19 Q Who told you that?

20 Q_ Iknow you didn't, buthad youknown 20 A Apparently, she called the nurse

21 that, you wouldn't have written anything '21 here, because the girls here in the office,

22 indicating that he was sensitive to loud | 22 she said that Dr. Hajmurad did a letter on

23 noises if the objective facts show he's :23 this patient 11/27, and they needed it by

24 shooting weapons. | 24 Friday on 11/30/18.

25 A No, |! would not write it, because (25 Q_ I guess my question to you, Doctor,
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MOHAMED RIAD HAJMURAD, M.D. on 09/16/2020

42..45

 

Page 42 |
1 is they asked you to write this letter. You

2 just didn't write it on your own.

3  A_ | don't remember, sir.

4 Q  Iunderstand. And Doctor, last thing

5 | have is, and | think | understand, but for

6 purposes of assuming even if he did have some |
7 hypersensitivity to loud noises, that is
8 something that would not be related to any
9 kind of a stroke? |

OGOON Aah WH =

10 A_ No, it should not. No.
11 MR. RICHARDSON: |
12 That's all the questions, | |
13 have, Doctor. | will turn it over to

14 Mr. Lanser if he has anything.

15 EXAMINATION

16 BY MR. LANSER:

17  Q Good afternoon, Doctor. So I'm Dave
18 Lanser, one of the attorneys for Mr. McKinney. ,
19 I just have a few clarifying questions here.
20 So going back to what we were talking about
21 with him shooting weapons at the range, would :
22 you agree that even if you have an
23 irritability or sensitivity to loud noises,

24 it's possible to mitigate the effects of those
25 if you're wearing earplugs or noise canceling |

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1 headphones or a device like that? |
2 A Weil, frankly, | cannot answer the
3 question, because | never do it. | never did
4 it. So 1 don't know how much the ear block
5 can prevent the noises, but no matter what, |
6 think it should affect the ear noises. It's
7 going to cause some loud noises.

 

14 like that for a short period of time or, that

17

3 does that mean they're a hundred percent back
. 4 to their pre-stroke functionality?
i)

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lot of noises, it's like it's making hima
little bit irritable and making his
sensitivity to the noises is a little bit more
prominent compared to the other people, but
again, | don't think it has anything to do
with the stroke.

Q_ Okay, that's fine. But you know, in
any circumstance, if you know there's going to
be -- | realize there's a baseline. When
10 there's a crowd or something like that, he
11 might be more irritable with the loud noises,
12 but if there's an instance where he can put on
13 the noise canceling headphones or something

15 would help while he has the headphones on. !s
16 that correct?
A [told you, | don't know how much it
18 is the cancellation noise. You know what I'm
19 saying?
20 @Q = Sure.
21 A_ Ihaven't tried it. So | don't know.
22 | cannot answer this question.
23. Q Okay, that's fine. When you
24 mentioned earlier, | believe it was during the
25 May visit where he was back to a normal
: Page 45
1 baseline, when you evaluate someone and
2 determine they're back at a normal baseline,

A Some subtle things, you know.
6 They're still having some stuttering speech.
7 It could be some of it related to his anxiety,

 

 

8 @Q. Sure. 8 stress, whatever, stuttering speech, but his

9 A How much, | don't know, because | : 9 motor function is back to normal baseline.

10 never been in the situation to tell you how /10 That's what | mention. You know, this is,

11 much affect the noises. 11 basically, what |! feel.

12  Q_ By the situation, you mean you've ,12 Q Sure. You mentioned he was having
13 never shot a gun at the range? | 13 issues with verbal issues and communication
14 A Never. Never. | never. | don't '14 issues. Is that true?

15 know how. 115 A This is yes. He does have verbal

16 Q Well, let's just say for loud noises '16 issues, because he cannot talk, express

17 in general, if you're wearing noise canceling 17 himself. When he comes, stuttering a little

18 headphones, would that help your sensitivity 18 bit. His wife, | remember, has been helping
19 toward those noises in that instance? 19 sometimes for things, but also because he has
20 =A _ It will decrease it significant, yes. 20 mini stroke in the brain. So he can have some
21 Of course, it will decrease it. 21 issue with, you know, expressing himself

22 Q_ Sure. ‘22 properly or comprehending himself properly,
23 =A _ | think it's what is the thing, 23 also.

24 feeling that probably, you know, it is when he 24 Q So you agree he was having some sort
25 is sitting in the crowd, a lot of talking, a :25 of communication issues because of the stroke
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Case 1:19-cv-01339-DCJ-JPM Document 37-3 Filed 10/01/20 Page 9 of 9 PagelID #: 1708

MOHAMED RIAD HAJMURAD, M.D. on 09/16/2020

 

 

 

 

46..48
Page 46 Page 48
1 in November or December 20187 ; CRERTIEICATE
2 <A Could be the stroke or because of the 3 I, LORI L. MARINO, Certified Court
3 other tiny stroke that he had. Because as | Reporter, in and for the State of Louisiana,
. . 4 as the officer before whom this testimony was
4 said, as | mentioned before, that he has on taken, do hereby certify that DR. MOHAMED RIAD
5 the MRI, only showed acute stroke, but he had ° HROMURAD, after having been duly sworn by me
. . upon authority of R.S. 37:2554, did testify as
6 also lacunar infarct bilateral. 6 hereinbefore set forth in the foregoing 47
7 Q Is it possible that any anxiety or pages; that this testimony was reported by me
. . . 7 in the stenotype reporting method, was
8 stress he might have been having might have prepared and transcribed by me or under my
9 been caused by his experience with a stroke? * personal Girection and supervision, and is :
10 A Generally speaking, stroke it can $ ability and understandings that the transcript
11 cause depression. It can cause anxiety, and has been prepared in compliance with
12 over the time, it should get better. w Satute or by rales of the boord, that Z have
13 Sometimes very minor percentage, it might stay 21 acted in compliance with the prohibition on
14 but if patient has large stroke, you know, “a2 tovisiana Code of civil Drocedure Article 1434
15 bigtime stroke, but of course, this is and in rules and advisory opinions of the
16 subjective and varies from person to person. Yoke patties herein. nor an? oehowiee
17 Q Subjective impressions like that are 14 interested in the outcome of this matter.
18 part of the medical evaluation process? te bated this 17th day of September, 2020.
19 A Neuropsychology can be evaluation. 17
20 MR, LANSER: 18
21 | believe that's all the 0
22 questions | have. 2a cn eenoee
23 MR. RICHARDSON: 22 STATE OF LOUISIANA
24 1 don't have any other »
25 questions, Doctor. We're going to 28
Page 47
1 attach the medical records as Exhibit
2 1. Doctor, do you have a CV? Maybe,
3 we can attach this as Exhibit 2.
4 THE WITNESS:
5 Sure.
6 MR. RICHARDSON:
7 I'll get that from your office,
8 Doctor, and we'll attach that as
9 Exhibit 2. | think that's all the
10 questions we have. Doctor, thank you
11 for your time. .
12 (The deposition was concluded at this time.) :
13 |
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